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              IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTH DISTIRCT OF GEORGIA
                        ATLANTA DIVISION

AVERY LEE,                         )
                                   )
     PLAINTIFF,                    )
                                   )
v.                                 )      CIVIL ACTION NO.:
                                   )      1:17-cv-01918-ELR
CHARLES HUGHES,                    )
CLIFFORD JOSEPH HARRIS, JR.,       )      JURY TRIAL REQUESTED
QUINTON MORGAN,                    )
CLAYBORNE EVANS,                   )
CARL D. NEAL, SCALES 925           )
ATLANTA, LLC, SCALES 925           )
ATLANTA MANAGEMENT, LLC,           )
THE ENCORE GROUP, LLC, AND         )
THE ROYAL GROUP,                   )
                                   )
     DEFENDANTS.                   )
______________________________     )

          PLAINTIFF'S MEMORANDUM IN SUPPORT OF HIS
              MOTION TO AMEND THE COMPLAINT

     NOW COMES Plaintiff, Avery Lee pursuant to the Federal Rule of Civil

Procedure 15(a)(2) and the Local Rules of this Court, hereby file this

Memorandum in Support of his Motion to Amend the Complaint.

I. SUMMARY OF ARGUMENT

     Plaintiff respectfully requests that this Court Grant his Motion to Amend

his Complaint perfect the same. The Court should grant this motion pursuant to


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Federal Rule of Civil Procedure 15(a)(2), the motion is not the product of undue

delay, bad faith and/or a dilatory motive. Rather, this case is in its infancy and all

parties will have adequate time to discover facts relevant.

III. ARGUMENT

      A.     Standard of Review

      Federal Rule of Civil Procedure 15(a)(2) states in the relevant part that "a

party may amend its pleading only with the opposing party's written consent or the

court's leave." Fed. R. Civ. P. 15(a)(2). The decision to grant a motion to amend is

within the Court’s discretion, but a “court should freely give leave when justice so

requires.” Id. Permission from the Court for a plaintiff to amend the Complaint

may be denied only in cases where there is undue delay, bad faith or dilatory

motive on the part of the moving party. Foman v. Davis, 371 U.S. 178 at 182

(1962). In determining whether to grant a motion to amend a complaint, the court

will consider a number of factors:       repeated failures to cure deficiencies by

amendments previously allowed, undue prejudice to the opposing party by virtue

of the allowance of the amendment, and the futility of the amendment. Id, see also

Carruthers v. BSA Advertising, Inc. 357 F.3d 1213, 1217 (11th Cir., 2004). The

Court considers these factors and balances the same against the potential prejudice

to the defendant(s). Id. “If the underlying facts or circumstances relied upon by a


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plaintiff may be a proper subject of relief, he ought to be afforded an opportunity

to test his claim on the merits.” Forman at 182 supra. The Eleventh Circuit has

recognized that a denial of a motion to amend a pleading is permissible and not an

abuse of discretion where granting the motion will cause undue delay in resolve the

matter before the Court or where granting the motion would be futile. Johnson v.

Kendrick, 2006 U.S. Dist. LEXIS 54929 (M.D. Ga., 2006). Absent the finding of

these circumstances, the Court should grant the moving party’s motion. Id.

      The Court is not required to follow the parameters of Fed. R. Civ. P.

15(a)(2), in the event that a plaintiff moves to amend the complaint after a deadline

set pursuant to Fed. R. Civ. P. 16(b)(4) has passed. Sosa v. Airprint Systems, Inc.,

133 F.3d 1417 (11th Cir., 1998). In the event that a party moves to amend after

this time, the complaint can be amended only with good cause and with the judge’s

consent. Id.

      Plaintiff's motion is brought in good faith, promotes judicial economy, and

will not prejudice the Defendants. As such, the Court is free to grant Plaintiff's

motion.

      B.       Plaintiff's Motion is brought in good faith and promotes judicial
               economy.

      The Plaintiff seeks to amend the Complaint to include an additional claims

discovered through post judgment discovery and to perfect his complaint. Plaintiff

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is seeking to reach new discovered assets, undue fraudulent transfers, and to

address liability, where the Defendant Scales 925, LLC has not observed the

corporate formalities. Such commonality and overlap promotes judicial economy,

as it will allow the Court to permit the amendment and resolve the claims without

duplicating pleading and testimony. By permitting the addition of the Cliams, the

Court will be able to dispose of the cases without needlessly duplicate testimony

and wasting the Court’s resources.

      C.     Plaintiff's Motion will not prejudice the Defendants and will not
             delay the proceedings.

      Plaintiff seeks to amend the Complaint at the initial pleading stage of this

Complaint. The parties have not initiated discovery. As such, the Defendants will

be afforded a full opportunity to engage in discovery to discover facts relevant.

III. CONCLUSION

      WHEREFORE, for the reasons set forth herein, Plaintiff respectfully

requests that this Court GRANT the Plaintiff's Unopposed Motion to Amend and

allow Plaintiff to file his Second Amended Complaint attached herewith as Exhibit

A.




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     Respectfully submitted, this 29th day of August, 2017.

                                    Attorneys for Plaintiff

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ATLANTA MANAGEMENT, LLC,            )
THE ENCORE GROUP, LLC, AND          )
THE ROYAL GROUP,                    )
                                    )
     DEFENDANTS.                    )
______________________________      )

                        CERTIFICATE OF SERVICE

       THE UNDERSIGNED counsel for Plaintiff hereby certifies that this day he
caused the foregoing Plaintiff’s Memorandum in Support of his Motion to
Amend The Complaint to be electronically filed with the Clerk of Court using the
CM/ECF system, which will automatically send an electronic mail notification of
such filling sufficient to constitute service to counsel of record:

Deirdre M. Stephens-Johnson             Albert A. Chapar, Jr., Esq.
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Respectfully submitted, this 29th day of August, 2017.

                               Attorneys for Plaintiff

                               THE VAUGHN LAW FIRM, LLC

                               /s/ Frank DeMelfi
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